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                        UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF OKLAHOMA



 SECURITIES AND EXCHANGE
 COMMISSION,

                                  Plaintiff,
                                                     Case No.: 5:22-cv-00673-F
                         v.

 GRENECO, LLC,
 GENE D. LARSON,
 GREGORY K. WOMACK, AND
 WOMACK INVESTMENT ADVISERS, INC.

                                  Defendants.



     FINAL JUDGMENT AS TO DEFENDANTS GRENECO, LLC, GENE D.
     LARSON, GREGORY K. WOMACK, AND WOMACK INVESTMENT
                         ADVISERS, INC.

       The Securities and Exchange Commission having filed a Complaint and

Defendants GreneCo, LLC (“GreneCo”), Gene D. Larson (“Larson”), Gregory K.

Womack (“Womack”), and Womack Investment Advisers, Inc. (“WIA”) having entered

a general appearance; consented to the Court’s jurisdiction over Defendants and the

subject matter of this action; consented to entry of this Final Judgment without admitting

or denying the allegations of the Complaint (except as to jurisdiction and except as

otherwise provided herein in paragraph V); waived findings of fact and conclusions of

law; and waived any right to appeal from this Final Judgment:




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                                                I.

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendants

GreneCo, Larson, and Womack are permanently restrained and enjoined from violating

Section 5 of the Securities Act of 1933 (“Securities Act”) [15 U.S.C. § 77e] by, directly

or indirectly, in the absence of any applicable exemption:

       (a)     Unless a registration statement is in effect as to a security, making use of

               any means or instruments of transportation or communication in interstate

               commerce or of the mails to sell such security through the use or medium

               of any prospectus or otherwise;

       (b)     Unless a registration statement is in effect as to a security, carrying or

               causing to be carried through the mails or in interstate commerce, by any

               means or instruments of transportation, any such security for the purpose of

               sale or for delivery after sale; or

       (c)     Making use of any means or instruments of transportation or

               communication in interstate commerce or of the mails to offer to sell or

               offer to buy through the use or medium of any prospectus or otherwise any

               security, unless a registration statement has been filed with the Commission

               as to such security, or while the registration statement is the subject of a

               refusal order or stop order or (prior to the effective date of the registration

               statement) any public proceeding or examination under Section 8 of the

               Securities Act [15 U.S.C. § 77h].



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          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the

following who receive actual notice of this Final Judgment by personal service or

otherwise: (a) Defendants’ officers, agents, servants, employees, and attorneys; and (b)

other persons in active concert or participation with Defendants or with anyone described

in (a).

                                                 II.

          IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that

Defendants Womack and WIA are permanently restrained and enjoined from violating

Section 206(2) of the Investment Advisers Act of 1940 (“Advisers Act”) [15 U.S.C.

§80b-6(2)] by use of the mails or any means or instrumentality of interstate commerce,

directly or indirectly, to :

          (a)     engage in any transaction, practice, or course of business which operates as

                  a fraud or deceit upon any client or prospective client.

          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the

following who receive actual notice of this Final Judgment by personal service or

otherwise: (a) Defendants’ officers, agents, servants, employees, and attorneys; and (b)

other persons in active concert or participation with Defendants or with anyone described

in (a).




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                                             III.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that: (1)

Defendant GreneCo is liable for a civil penalty in the amount of $414,364 pursuant to

Section 20(d) of the Securities Act; (2) Defendant Larson is liable for a civil penalty in

the amount of $41,440 pursuant to Section 20(d) of the Securities Act; (3) Defendant

Womack is liable for disgorgement of $236,739, representing net profits gained as a

result of the conduct alleged in the Complaint, together with prejudgment interest thereon

in the amount of $48,170, and a civil penalty in the amount $145,031 pursuant to Section

20(d) of the Securities Act and Section 209(e) of the Advisers Act; and (4) Defendant

WIA is liable for disgorgement of $160,000, representing net profits gained as a result of

the conduct alleged in the Complaint, together with prejudgment interest thereon in the

amount of $32,609, and a civil penalty in the amount of $517,955 pursuant to Section

209(e) of the Advisers Act. Defendants shall satisfy these obligations by each paying the

amounts identified in (1) through (4) above to the Securities and Exchange Commission

within 30 days after entry of this Final Judgment.

       Defendants may transmit payment electronically to the Commission, which will

provide detailed ACH transfer/Fedwire instructions upon request. Payment may also be

made directly from a bank account via Pay.gov through the SEC website at

http://www.sec.gov/about/offices/ofm.htm. Defendants may also pay by certified check,

bank cashier’s check, or United States postal money order payable to the Securities and

Exchange Commission, which shall be delivered or mailed to



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       Enterprise Services Center
       Accounts Receivable Branch
       6500 South MacArthur Boulevard
       Oklahoma City, OK 73169

and shall be accompanied by a letter identifying the case title, civil action number, and

name of this Court; GreneCo, LLC, Gene D. Larson, Gregory K. Womack, or Womack

Investment Advisers, LLC as a defendant in this action; and specifying that payment is

made pursuant to this Final Judgment.

       Defendant shall simultaneously transmit photocopies of evidence of payment and

case identifying information to the Commission’s counsel in this action. By making this

payment, Defendant relinquishes all legal and equitable right, title, and interest in such

funds and no part of the funds shall be returned to Defendant.

       The Commission may enforce the Court’s judgment for disgorgement and

prejudgment interest by using all collection procedures authorized by law, including, but

not limited to, moving for civil contempt at any time after 30 days following entry of this

Final Judgment.

       The Commission may enforce the Court’s judgment for penalties by the use of all

collection procedures authorized by law, including the Federal Debt Collection

Procedures Act, 28 U.S.C. § 3001 et seq., and moving for civil contempt for the violation

of any Court orders issued in this action. Defendants shall pay post judgment interest on

any amounts due after 30 days of the entry of this Final Judgment pursuant to 28 U.S.C.

§ 1961. The Commission shall hold the funds, together with any interest and income

earned thereon (collectively, the “Fund”), pending further order of the Court.


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       The Commission may propose a plan to distribute the Fund subject to the Court’s

approval. Such a plan may provide that the Fund shall be distributed pursuant to the Fair

Fund provisions of Section 308(a) of the Sarbanes-Oxley Act of 2002. The Court shall

retain jurisdiction over the administration of any distribution of the Fund and the Fund

may only be disbursed pursuant to an Order of the Court.

       Regardless of whether any such Fair Fund distribution is made, amounts ordered

to be paid as civil penalties pursuant to this Judgment shall be treated as penalties paid to

the government for all purposes, including all tax purposes. To preserve the deterrent

effect of the civil penalty, Defendants shall not, after offset or reduction of any award of

compensatory damages in any Related Investor Action based on Defendants’ payment of

disgorgement in this action, argue that they are entitled to, nor shall they further benefit

by, offset or reduction of such compensatory damages award by the amount of any part of

each Defendant’s payment of a civil penalty in this action (“Penalty Offset”). If the court

in any Related Investor Action grants such a Penalty Offset, Defendant shall, within 30

days after entry of a final order granting the Penalty Offset, notify the Commission’s

counsel in this action and pay the amount of the Penalty Offset to the United States

Treasury or to a Fair Fund, as the Commission directs. Such a payment shall not be

deemed an additional civil penalty and shall not be deemed to change the amount of the

civil penalty imposed in this Final Judgment. For purposes of this paragraph, a “Related

Investor Action” means a private damages action brought against Defendants by or on

behalf of one or more investors based on substantially the same facts as alleged in the

Complaint in this action.

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                                               IV.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is

incorporated herein with the same force and effect as if fully set forth herein, and that

Defendants shall comply with all of the undertakings and agreements set forth therein.

                                               V.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely for

purposes of exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11

U.S.C. § 523, the allegations in the complaint are true and admitted by Defendants, and

further, any debt for disgorgement, prejudgment interest, civil penalty or other amounts

due by Defendants under this Final Judgment or any other judgment, order, consent

order, decree or settlement agreement entered in connection with this proceeding, is a

debt for the violation by Defendants of the federal securities laws or any regulation or

order issued under such laws, as set forth in Section 523(a)(19) of the Bankruptcy Code,

11 U.S.C. § 523(a)(19).

                                               VI.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court

shall retain jurisdiction of this matter for the purposes of enforcing the terms of this Final

Judgment.

        Dated this 15th day of August, 2022.




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